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7
     Attorneys of Record for Plaintiff,
8    Bryan Estrada
9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11

12   Bryan Estrada,                               Case No. 5:22-cv-92
13
                      Plaintiff,
14                                                COMPLAINT
15                    v.
16
     Rapid Recovery Lounge, LLC; Aire
17   Properties, LLC; Stephen F. Brown; Jordan
18
     Moore and Does 1-10, inclusive,
19

20             Defendants.
21

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28                                          -1-
                                          COMPLAINT
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1
                               NATURE OF THE ACTION

2                 1.    This is an action seeking to remedy unlawful discrimination by
3    the Defendants against the Plaintiff in the Defendants’ places of public
4    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
5    12101, et seq.] (the “ADA”).
6

7
                                          PARTIES
8
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
9
     California, County of Riverside, who requires the use of a wheelchair for mobility
10
     purposes and who is therefore a “person with a disability” within the meaning of
11
     the ADA and Cal.Government Code § 12926.
12
                  3.    The Defendants (defined below) discriminate against
13

14
     people with mobility disabilities in the full and equal enjoyment of the goods,

15   services, facilities, privileges, advantages, or accommodations on the basis of their
16   mobility disability at the Subject Property (defined below) in violation of the ADA
17   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
18                4.    The Defendants' failure to make reasonable modifications in
19   policies, practices, or procedures when such modifications are necessary to afford
20   goods, services, facilities, privileges, advantages, or accommodations to
21
     individuals with disabilities prevented people with mobility disabilities from
22
     enjoying fair and equal access to the Subject Property (defined below) in violation
23
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
24
                  5.    Defendant, Rapid Recovery Lounge, LLC, owns, operates, or
25
     leases real property located at 255 N Lincoln Ave, Corona, CA 92882, also known
26
     as Riverside County Assessor’s Parcel No. 118-230-061 (the “Subject Property”).
27

28                                           -2-
                                           COMPLAINT
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1
                   6.    Defendant, Aire Properties, LLC, owns, operates, or leases

2    real property located at 255 N Lincoln Ave, Corona, CA 92882, also known as
3    Riverside County Assessor’s Parcel No. 118-230-061 (the “Subject Property”).
4                  7.    Defendant, Stephen F. Brown, owns, operates, or leases
5    real property located at 255 N Lincoln Ave, Corona, CA 92882, also known as
6    Riverside County Assessor’s Parcel No. 118-230-061 (the “Subject Property”).
7
                   8.    Defendant, Jordan Moore, owns, operates, or leases
8
     real property located at 255 N Lincoln Ave, Corona, CA 92882, also known as
9
     Riverside County Assessor’s Parcel No. 118-230-061 (the “Subject Property”).
10
                   9.    The Subject Property is a commercial facility open to the
11
     general public, is a public accommodation, and is a business establishment insofar
12
     as goods and/or services are made available to the general public thereat.
13

14
     Defendant Does 1 through 10, inclusive, are sued herein under fictitious names.

15   Their true names and capacities are unknown to the Plaintiff. When their true
16   names and capacities are ascertained, Plaintiff will amend this complaint by
17   inserting their true names and capacities herein. Plaintiff is informed and believes
18   and thereon alleges that each of the fictitiously named Defendants are responsible
19   in some manner for the occurrences herein alleged, and that the harm to Plaintiff
20   herein alleged were proximately caused by those Defendants.
21

22
                              JURISDICTION AND VENUE
23
                   10.   This Court has jurisdiction over the subject matter of this action
24
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
25
     of the ADA.
26
                   11.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
27

28                                           -3-
                                           COMPLAINT
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1
     based on the fact that the real property that is the subject of this action is located in

2    this district and the Plaintiff’s causes of action arose in this district.
3

4                                  STATEMENT OF FACTS
5                  12.    Parking spaces, accessible aisles, paths of travel, signage,
6    doorways, service counters, restrooms, customer areas and goods/services are
7
     among the facilities, privileges and advantages offered by the Defendants to
8
     patrons of the Subject Property.
9
                   13.    The Subject Property does not comply with the minimum
10
     requirements of the ADA and is therefore not equally accessible to persons with
11
     mobility disabilities.
12
                   14.    In January, 2021 and continuously from that time to the
13

14
     Present, and currently, the Subject Property has not been in compliance with the

15   ADA (the “Barriers”):
16                        A.     The Subject Property lacks the minimum required
17   number of ADA compliant accessible parking spaces. There are none.
18                        B.     There was no diagonal striped marking and no blue
19   border around where an access aisle is supposed to exist adjacent to any designated
20   accessible parking space serving the Subject Property.
21
                          C.     The designated “accessible” parking space(s) and/or blue
22
     striped access aisles provided at the Subject Property are smaller than permitted by
23
     the ADA.
24
                          D.     The designated “accessible” parking spaces at the Subject
25

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28                                             -4-
                                             COMPLAINT
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1
     Property do not provide accessible parking signage as required by the ADA.

2    Among other things, they fail to provide tow-away signage and “Minimum Fine
3    $250” signage as required by the ADA.
4                       E.     The designated “accessible” parking spaces at the Subject
5    Property do not provide the universal symbol of accessibility.
6                       F.     There is no twelve-inch high “NO PARKING” lettering
7
     on blue-striped parking access aisles serving the Subject Property.
8
                        G.     There was no designated “van accessible” parking space
9
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
10
     going forward into the parking space and no sign or additional language stating
11
     “Van Accessible” below the symbol of accessibility located in a manner that is not
12
     obstructed.
13

14
                        H.     The parking spaces and access aisles provided at the

15   Subject Property are at an excessive slope.
16                      I.     The parking spaces designated as “accessible” at the
17   Subject Property do not have blue-striped parking access aisles adjacent to them
18   and are not at the same level as the parking spaces they serve.
19                      J.     The curb ramp flares are too steep and/or the curb ramps
20   improperly extended into the access aisles.
21
                        K.     There were no accessible paths of travel from public
22
     transportations stops, accessible parking, public streets and sidewalks to the
23
     building entrances serving the Subject Property.
24
                        L.     The accessible paths of travel serving the Subject
25
     Property contain areas where the slope exceeds the maximum slope permitted by
26
     the ADA.
27

28                                           -5-
                                           COMPLAINT
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1
                         M.      The exterior ramp is lacking ADA compliant handrails.

2                        N.      The transaction counter provides for a parallel
3    approach but does not provide a minimum clear width of 36 inches.
4                        O.      The water and drain pipes under the lavatory are
5    not adequately insulated.
6                        P.      The toilet seat cover dispenser is mounted too high
7
     and is not located in an accessible location.
8
                  15.    Plaintiff personally encountered one or more of the Barriers
9
     at the Subject Property in January, 2021. Between January, 2021 and the present,
10
     the Plaintiff had personal knowledge of the existence of Barriers at the Subject
11
     Property.
12
                  16.    The existence of Barriers, the implementation of discriminatory
13

14
     policies, practices and procedures, and other ADA violations at the Subject

15   Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
16   Property on a particular occasion between January, 2021 and the present.
17                17.    On information and belief, the remediation of violations
18   identified hereinabove, to be identified by the Defendants in discovery, and to be
19   discovered by Plaintiff’s experts are all readily achievable in that the removal of
20   them by the Defendants is and has been easily accomplishable without much
21
     difficulty or expense.
22
                  18.    Defendants violated the ADA by failing to remove all mobility-
23
     related architectural barriers at the Subject Property. On information and belief,
24
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
25
     intentional because the barriers described herein are clearly visible and tend to be
26
     obvious even to a casual observer and because the Defendants operate the Subject
27

28                                            -6-
                                            COMPLAINT
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1
     Property and have control over conditions thereat and as such they have, and have

2    had, the means and ability to make the necessary remediation of access barriers if
3    they had ever so intended.
4                 19.    On information and belief, access barriers at the Subject
5    Property are being consciously ignored by the Defendants; the Defendants have
6    knowingly disregarded the ongoing duty to remove the Barriers in compliance with
7
     the ADA. Plaintiff further alleges on information and belief that there are other
8
     ADA violations and unlawful architectural barriers at the Subject Property that
9
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
10
     remediation of which is required under the ADA.
11
                  20.    Plaintiff hereby seeks to remediate and remove all barriers
12
     related to his mobility disability, whether presently known or unknown and intends
13

14
     to return to the Subject Property to observe and confirm whether access barriers

15   have been removed.
16                21.    Even if strictly compliant barrier removal were determined to
17   be structurally or otherwise impracticable, there are many alternative methods of
18   providing accommodations that are readily apparent and that could provide a
19   greater degree of accessibility to the Plaintiff and similarly situated persons but for
20   the Defendants’ discriminatory policies, practices and procedures and Defendants’
21
     conscious indifference to their legal obligations and to the rights of persons with
22
     mobility disabilities. Defendants’ failure to implement reasonable available
23
     alternative methods of providing access violates the ADA [42 U.S.C. §
24
     12182(b)(2)(A)(v)].
25
                  22.    The violations and references to code sections herein are not
26

27

28                                            -7-
                                            COMPLAINT
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1
     all-inclusive. Plaintiff will amend this complaint to provide a complete description

2    of the full scope of ADA violations after conducting a comprehensive expert site
3    inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
4    that the barriers alleged herein violate one or more of the ADA’s implementing
5    regulations. The Defendants have maintained and continue to maintain
6    discriminatory policies, procedures and practices that disregard their obligations
7
     under the ADA by allocating resources for physical improvements to the Subject
8
     Property that were did not provide legally required accessibility improvements, by
9
     failing to conduct ADA self-inspections or create ADA compliance plans
10
     regarding the Subject Property, by causing alterations to be made to the Subject
11
     Property in disregard of ADA requirements, and for failing and refusing to make
12
     necessary accommodations for persons with mobility disabilities at the Subject
13

14
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights

15   compliance policies, procedures and practices are discriminatory and violate the
16   ADA.
17                             FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
18
                                 [42 U.S.C. §§ 12101, et seq.]
19                            By Plaintiff against all Defendants
20

21                23.    Plaintiff re-alleges and incorporates by reference as though
22   fully set forth herein the allegations contained in all prior paragraphs of this
23   complaint.
24                24.    The ADA obligates owners, operators, lessees and lessors of
25
     public accommodations to ensure that the privileges, advantages, accommodations,
26
     facilities, goods and services are offered fully and equally to persons with
27

28                                            -8-
                                            COMPLAINT
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1
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §

2    12182(a)].
3                 25.    Discrimination is defined in the ADA, inter alia, as follows:
4                        A.     A failure to remove architectural barriers where such
5    removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
6    barriers are identified and described in the Americans with Disabilities Act
7
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
8
                         B.     A failure to make alterations in such a manner that, to the
9
     maximum extent feasible, the altered portions of the facility are readily accessible
10
     to and usable by individuals with disabilities, including individuals who use
11
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
12
     the altered area and the bathrooms, telephones, and drinking fountains serving the
13

14
     altered area, are readily accessible to and usable by individuals with disabilities [42

15   U.S.C. § 12183(a)(2)].
16                       C.     Where an entity can demonstrate that the removal of a
17   barrier is not readily achievable, a failure to make such goods, services, facilities,
18   privileges, advantages, or accommodations available through alternative methods
19   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
20                       D.     A failure to make reasonable modifications in
21
     policies, practices, or procedures, when such modifications are necessary to afford
22
     such goods, services, facilities, privileges, advantages, or accommodations to
23
     individuals with disabilities, unless the entity can demonstrate that making such
24
     modifications would fundamentally alter the nature of such goods, services,
25
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
26
     12182(b)(2)(A)(ii)].
27

28                                            -9-
                                            COMPLAINT
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 1
                 26.    The ADA, the ADAAG’s 1991 Standards (the “1991

 2   Standards”) and 2010 Standards (the “2010 Standards”), and the California
 3   Building Code (the “CBC”) contain minimum standards that constitute legal
 4   requirements regarding wheelchair accessibility at places of public
 5   accommodation:
 6                      A.    If parking spaces are provided for self-parking by
 7
     employees or visitors, or both, then the subject property must provide at least the
 8
     minimum required number of accessible parking spaces.Accessible parking
 9
     spaces must be marked to define their width and must have an adjacent ADA
10
     compliant access aisle. Accessible parking spaces must be at least 96 inches wide
11
     and van parking spaces must be at least 132 inches wide except that van parking
12
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
13

14
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the

15   Subject Property does not comply with the ADA.
16                      B.    To qualify as a reserved handicap parking space, the
17   space must be properly marked and designated. Under the ADA, the method,
18   color of marking and length of the parking space are to be addressed by state or
19   local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
20   and 503].
21
                        C.    To properly and effectively reserve a parking space for
22
     persons with disabilities, each parking space must be at least 216 inches in length
23
     [CBC § 11B-502.2].
24
                        D.    Each parking space reserved for persons with disabilities
25
     shall be identified by a reflectorized sign permanently posted immediately
26
     adjacent to and visible from each stall or space, consisting of the International
27

28                                          -10-
                                          COMPLAINT
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 1
     Symbol of Accessibility in white on a dark blue background. The sign shall not be

 2   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
 3   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 4   the sign to the parking space finished grade. Signs may also be centered on the
 5   wall at the interior end of the parking space. An additional sign or additional
 6   language below the symbol of accessibility shall state "Minimum Fine $250"
 7
     [2010 Standards § 502.6; CBC § 1129B.4].
 8
                       E.     Signs identifying accessible parking spacesmust include
 9
     the International Symbol of Accessibility [2010 Standards §§ 502.6].
10
                       F.     To properly and effectively reserve a parking space for
11
     persons with disabilities, the surface of the access aisle must have a blue
12
     border; the words “NO PARKING” in letters at least a foot high must be
13
     painted on the access aisle [CBC § 1129B.3].
14

15
                       G.     One in every eight accessible spaces, but not less than

16   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
17   wide minimum placed on the side opposite the driver’s side when the vehicle is
18   going forward into the parking space and shall be designated van accessible. Van
19   accessible spaces must have an additional sign or additional language stating "Van
20   Accessible" below the symbol of accessibility. Signs identifying accessible
21   parking spaces must be located so they cannot be obscured by a vehicle parked in
22
     the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
23
     and B4].
24
                       H.     Parking spaces and access aisles shall be level with
25
     surface slopes not exceeding 1:50 (2%) in all directions [ADAAG 4.6.3;
26
     CBC § 1129B.3].
27
                       I.     Parking access aisles shall connect to accessible
28                                          -11-
                                          COMPLAINT
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 1
     parking spaces and be part of an accessible route to the building or facility

 2
     entrance and must be at the same level as the parking spaces they serve
 3   [1991 Standards § 4.6.3; 2010 Standards §§ 502.3 and 502.4].
 4                     J.    Curb rampsand the flared sides of curb rampsmust
 5   be located so that they do not project into vehicular traffic lanes, parking
 6   spaces, or parking access aisles. Curb ramp flares cannot be steeper than
 7   1:10. Curb ramps at marked crossingsmust be wholly contained within the
 8   markings, excluding any flared sides [1991 Standards § 4.7.5; 2010
 9   Standards §§406.3 and 406.5].
10                     K.    At least one accessible route must be provided from
11   public transportation stops, accessible parking, and accessible passenger
12   loading zones, and public streets or sidewalks to the accessible building
13   entrance they serve. The accessible route must, to the maximum extent
14
     feasible, coincide with the route for the general public, must connect
15
     accessible buildings, facilities, elements, and spaces that are on the same
16
     site, and at least one accessible route must connect accessible building or
17
     facility entrances with all accessible spaces and elements and with all
18
     accessible dwelling units within the building or facility [1991 Standards
19
     §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
20
                       L.    Slopes of a path of travel along an accessible route
21
     cannot exceed 1:48 [2010 Standards § 304.2].
22
                       M.    Handrails are required at ramps complying with
23
     §405 [2010 ADAS § 505.1].
24
                       N.    Where a service counter requires a parallel
25

26
     approach, a portion of the counter surface that is 36 inches (915 mm) long

27

28                                        -12-
                                        COMPLAINT
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 1
     minimum and 36 inches (915 mm) high maximum above the finish floor

 2
     shall be provided [2010 ADAS § 904.4.1].
 3                     O.    Water supply and drain pipes under lavatories and
 4   sinks must be insulated or otherwise configured to protect against contact
 5   [2010 ADAS § 606.5].
 6                     P.    The outlet of a toilet seat cover dispenser must be
 7   within a range of 15 inches to 48 inches above the finished floor [2010
 8   ADAS § 604.7].
 9               27.   The Defendants have failed to comply with minimum
10   ADA standards and have discriminated against persons with mobility
11   disabilities on the basis of thereof. Each of the barriers and accessibility
12   violations set forth above is readily achievable to remove, is the result of an
13   alteration that was completed without meeting minimum ADA standards,
14
     or could be easily remediated by implementation of one or more available
15
     alternative accommodations. Accordingly, the Defendants have violated the
16
     ADA.
17
                 28.   The Defendants are obligated to maintain in operable
18
     working condition those features of the Subject Property’s facilities and
19
     equipment that are required to be readily accessible to and usable by
20
     Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
21
     36.211(a)]. The Defendants failure to ensure that accessible facilities at the
22
     Subject Property were available and ready to be used by the Plaintiff
23
     violates the ADA.
24
                 29.   The Defendants have a duty to remove architectural
25

26
     barriers where readily achievable, to make alterations that are consistent

27
     with minimum ADA standards and to provide alternative accommodations

28                                        -13-
                                        COMPLAINT
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 1
     where necessary to provide wheelchair access. The Defendants benign

 2
     neglect of these duties, together with their general apathy and indifference
 3   towards persons with disabilities, violates the ADA.
 4                30.   The Defendants have an obligation to maintain policies,
 5   practices and procedures that do not discriminate against the Plaintiff and
 6   similarly situated persons with mobility disabilities on the basis of their
 7   disabilities. The Defendants have maintained and continue to maintain a policy of
 8   disregarding their obligations under the ADA, of allocating resources for
 9   improvements insufficient to satisfy legal requirements regarding accessibility
10   improvements, of failing to conduct ADA self-inspections or create ADA
11
     compliance plans, of causing alterations to be made to the Subject Property in
12
     disregard of ADA requirements, and of failing and refusing to make necessary
13
     accommodations for persons with mobility disabilities at the Subject Property, in
14
     violation of the ADA.
15
                  31.   The Defendants wrongful conduct is continuing in that
16
     Defendants continue to deny full, fair and equal access to their business
17
     establishment and full, fair and equal accommodations, advantages,
18

19
     facilities, privileges and services to Plaintiff as a disabled person due to

20   Plaintiff’s disability. The foregoing conduct constitutes unlawful
21   discrimination against the Plaintiff and other mobility disabled persons
22   who, like the Plaintiff, will benefit from an order that the Defendants
23   remove barriers and improve access by complying with minimum ADA
24   standards.
25

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28                                          -14-
                                          COMPLAINT
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 1
                               PRAYER FOR RELIEF

 2
           Plaintiff prays to this Court for injunctive, declaratory and all other
 3   appropriate relief under the ADA , including but not limited to reasonable
 4   attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 5   12205.
 6         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
           not seek injunctive relief under the Unruh Act or Disabled Persons
 7
           Act at all by way of this action.
 8
     Respectfully submitted,
 9

10   Dated: 01/14/2022             LAW OFFICES OF ROSS CORNELL, APC
11

12                                 By: /s/ Ross Cornell
13                                     Ross Cornell, Esq.,
                                       Attorneys for Plaintiff,
14
                                       Bryan Estrada
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                                        COMPLAINT
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